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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                   No. 4:14CR00010-09 JLH

IVORY LAMONT JOHNSON                                                                  DEFENDANT

                                              ORDER

       On the 8th day of May, 2014, this matter came before the Court on Ivory Lamont Johnson’s

appeal of the Order of Detention entered by United States Magistrate Judge Beth Deere. Ivory

Lamont Johnson appeared in person and with his lawyer, Mark Hampton. The government appeared

through Assistant United States Attorney Anne Gardner. Pursuant to 18 U.S.C. § 3145, this Court

conducted a de novo review, which included reviewing the transcript of the hearing before

Magistrate Judge Deere and giving the parties an opportunity to present additional evidence.

       Based upon a review of all of the evidence, the Court finds that there are no conditions of

release that would reasonably assure the appearance of Ivory Lamont Johnson as required and the

safety of the community. The offenses on which Johnson has been indicted are drug trafficking

offenses, which Congress has determined present a danger to the community. The indictment by

the Grand Jury establishes that there is probable cause to believe that Johnson has committed those

offenses. There is strong evidence against Johnson. Furthermore, Johnson was convicted in 1994

in this Court of aiding and abetting the distribution of more than five grams of cocaine base. He was

sentenced to eighty-four months imprisonment, to be followed by four years of supervised release.

His supervised release was revoked in 2000, and he was sentenced to six months imprisonment. He

was revoked again in January of 2003 and sentenced to seven months imprisonment. The revocation

in 2003 was for residential treatment failure, failure to submit to drug testing, failure to report to
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probation when directed, failure to notify probation of his change of address, and positive drug

screens. In 2011, Johnson was convicted of possession of a controlled substance in the Pulaski

County Circuit Court and was sentenced to five months probation. At the time of the events that

gave rise to his arrest in this action, he was on probation on those charges. Thus, Johnson has a

lengthy history of violating conditions of supervised release and probation, which indicates that he

will not comply with the conditions of pretrial release.

       The circumstances of the arrest of Johnson are also troubling. Johnson’s vehicle was stopped

by a law enforcement officer, and when he was asked to get out of the car, he fled in his vehicle.

He drove to an apartment complex, left his car, and attempted to escape on foot. He went into an

apartment that was occupied by others, went out a window, and climbed on the roof before being

apprehended. This conduct is further indication that Johnson presents a danger to the community

and will not comply with the conditions of pretrial release.

       Johnson has proposed his mother as a third-party custodian, and he has proposed that he be

released to enter residential drug treatment. Based upon the evidence explained above, the Court

does not believe that these conditions of release would adequately assure his appearance and the

safety of the community.

       Johnson’s motion for amendment to the Order of Detention is therefore denied. Document

#117. The Order of Detention previously entered by Magistrate Judge Deere will remain in effect.

       IT IS SO ORDERED this 8th day of May, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE



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